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                 IN THE UNITED STATES FEDERAL DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION



ROGER S. FULLER, JR.,                           §
                                                §
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                                                §
 vs.                                            § Case No.7:17 cv00564
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CARILION CLINIC                                 §
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______________________________________________________________________________

                               FIRST AMENDED COMPLAINT

COMES NOW THE PLAINTIFF, Roger S. Fuller Jr., (hereafter Fuller) and files this First
Amended Complaint against Defendant Carillon Clinic (hereafter Carilion), and in support
thereof states as follows:


                                               Parties
1. Plaintiff is a resident of the City of Roanoke, residing in the City of Roanoke.
2. Defendant Carillon Clinic is a private Virginia corporation with its principal offices located in
the City of Roanoke, Virginia and may be served at the offices of its registered agent, 213 S. Jef-
ferson Street, Suite 1600, Roanoke VA 24011.
3. Steve Lugar is the Chief of the Carilion Police and Security Services Department.
4. Ronald Donelson is a Captain employed by the Carilion Police and Security Services Depart-
ment.




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5. A.D. Janney is a police officer employed by the Carilion Police and Security Services De-
partment.


                                      Jurisdiction and Venue
This Court has subject matter jurisdiction over two claims alleging violations of 42 U.S.C. §
1983 pursuant to 28 U.S.C. §1331. This Court has supplemental jurisdiction over the state law
claims set forth herein pursuant to 28 U.S.C. 1367.


Venue is proper in this Court under 298 U.S.C. § 1391 (b)(2).




                                               FACTS


1. The Commonwealth of Virginia, by act of the 2015 General Assembly, has authorized Caril-
ion Clinic to maintain the Carilion Police and Security Services Department (hereafter Carilion
Police), specifically recognizing that no entity is authorized to operate a private police depart-
ment unless it has been authorized by statute or an act of assembly. The 2015 Virginia General
Assembly has granted Carilion private police department status pursuant to Va Code Sec.
9.1-101.


2. In authorizing private police departments, the General Assembly requires that private police
departments and private police officers shall be subject to and comply with the Constitution of
the United States, the Constitution of Virginia, the laws governing municipal police departments
and all regulations of the Virginia Criminal Justice Services Board that apply to private police
departments.




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3. Lugar, Donelson and Janney are defined by the General Assembly as “law enforcement offi-
cers”. They were, at all times relevant hereto, full-time or part-time employees of the Carilion
Police department.


4. Carilion Police have the same plenary police power and perform the same law enforcement as
are traditionally reserved for the Commonwealth of Virginia. Private police are required to
maintain all requirements, including the minimum compulsory training requirements, for law
enforcement officers within Virginia. Carilion Police are not security guards, special police, or
conservators of the peace as defined by the Virginia Code and are not included in the regulatory
scheme for police with limited law enforcement authority.


5. The Carilion Police are authorized by statute and have the same law enforcement capabilities

as public police officers. Carilion Police are authorized to use the term “police”on badges and
uniforms, to carry firearms; effectuate arrests; obtain warrants, wear police colors and operate
security vehicles with flashing lights. The jurisdiction of the Carilion police is limited by statute
to the property owned and operated by Carilion.


6. For the purpose of public records, private police departments are considered to be public bod-
ies who have the same duty to disclose public records as other custodians of public records pur-
suant to Virginia Code sec. 2.2-3701.


7. The Carilion Police department is not, by statute, a public body and is not a state agency.
The authority of the Carilion Police does not supersede the authority, duties or jurisdiction vested
by law with a local police department or sheriff’s office.


8. The police officers employed by the Carilion police department are not employees of the
Commonwealth of Virginia or any locality.




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9. At all times material hereto, the Carilion Police Personnel were members of Carilion’s pri-

vate police department and were employed by Carilion acting in their official capacity as police
officers of the Carilion Police and Security Services Department.


10. The Carilion police do not have any civil authority to arrest any individual regarding any civil

matter. This authority is limited for all law enforcement officers within the Commonwealth of
Virginia.


11. At all times material hereto, Fuller was employed by Carilion Clinic as a janitor.



12. On September 14, 2017, Fuller reported for work and shortly after beginning his shift dis-

covered three burned, wooden stick matches and a singed piece of paper near the Carilion den-
tistry lab. Fuller notified a receptionist on duty at the time of what he had found.


13. Carilion police arrived at the scene and asked Fuller where the matches were found. Fuller
showed the Carilion police the matches and paper and identified the location where the items
were discovered. A Carilion police officer instructed Fuller to throw the items in the trash and
Fuller complied.


14. Approximately 15 minutes after Fuller threw away the matches and paper, a second Carilion
police officer confronted Fuller, asking Fuller if he “had something to hide” and stated to Fuller
that he “must be guilty of something if [he] was shaking”. A short time later, the second police
officer apologized to Fuller for his remarks, and then instructed Fuller to retrieve the matches
and paper from the trash. Fuller complied with the instruction.


15. Fuller suffers from Asperger syndrome and shaking, brought about by anxiety, is a side ef-
fect of his disability.


16. The second Carilion police officer stated to Fuller that he was keeping the items for evidence.


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17. Fuller completed the remainder of his shift without incident, and was not questioned further
about the matches and the paper. Fuller returned to his home after his shift ended at 1:30 a.m.


18. The next day, September 15, 2017, at approximately 10:30 a.m., two Carilion Police offi-
cers, identified as Officer Garrett and Officer Janney, driving an unmarked Carilion police vehi-
cle and displaying sidearms, stormed Fuller’s residence without warning or in response to any
request.


19. Upon arriving at Fuller’s home, Carilion police staged a swat team, tactical style arrest
known as a “surround and call out”. A “surround and call out” consists of stationing police at all
entrances and exits, pounding on the front door and ringing the door bell while simultaneously
“calling out,” to the occupant, demanding that the occupant answer. The effect of a surround
and call out is to create panic and confusion for the occupants inside and prevent exit or escape.


20. In response to the “surround and call out”, Fuller answered the door, whereupon he was told

by Carilion Police that he was to put on a collared shirt and that he was going to go to the police
station at Carilion for questioning. Once Fuller opened the door, Carilion Police entered without
permission, blocking the entrance and yelling at Fuller to change his clothes to go to the “police
station”.


21. At all times Fuller was aware that the Carilion police were armed and they demonstrated to

Fuller the ability to forcibly remove Fuller from his home by repeatedly placing their hands on
their firearms while at Fuller’s home.


22. Fuller told police while he was inside his home that he wanted to make a phone call to his

father, a retired police officer. Carilion police denied this request and told Fuller that he was go-
ing to the police station.




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23. Fuller then told the Carillon police that he did not want to go with them to the police station.

In response, Carilion police threatened Fuller and told Fuller that he would be charged with
felony arson if he didn’t go with them to the police station.


24. Fuller was in fear of Carilion Police while in his home and believed the Carilion Police
posed an immediate threat of bodily harm if he didn’t comply with their demands. Fuller was
reasonable in his belief after Carilion police forcibly entered his home and repeatedly placed
their hands on their weapons.


25. Fuller was then taken, against his will, by Carilion police in a Carilion police vehicle to the
Carilion police station.


26. Upon arriving at the Carilion Police Department, Fuller was told that he was not allowed to
call a lawyer, and that he was being taken through the “back entrance, which is for police and
criminals”.


27. Fuller was then transported to a locked interrogation room. During the course of the interro-
gation Fuller was humiliated, threatened and abused by Carilion Police Department personnel in
the following manner:
                                a. Fuller was told that he was going to confess to lighting three
wooden stick matches and burning a napkin because he “has Asperger’s disease which means he
does stupid things”;
                                b. That Fuller was going to confess that he “did it” because his dis-
ability makes him do things and he doesn’t even know that he does them;
                                c. That Fuller needed to admit to lighting the matches because he
was on hidden security cameras and his finger prints were taken in the area where the matches
were found;
                                d. That because Fuller was shaking and nervous, it meant that he
was lying;


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                               e. That Fuller would be charged with felony arson if he didn’t con-
fess;
                               f. That if Fuller didn’t confess his uncle ( a Carilion employee)
would be fired;
                               g. That Fuller would embarrass his family and his church if he
didn’t confess;
                               h. That Fuller would lose his job if he didn’t confess to lighting the
matches;
                               i. That Fuller was not going to be allowed to leave until he con-
fessed.




28. Fuller suffers from Asperger’s syndrome which is characterized by nervousness, shaking
and tremendous anxiety, particularly in situations involving loud noises, high conflict, and/or
uncertainty. The Carilion Police were aware of Fuller’s condition prior to Fuller’s arrest and
throughout the interrogation of Fuller, and took advantage of Fuller’s disability to terrorize,
threaten, intimidate and humiliate Fuller.


29. After two hours of interrogation Fuller reasonably believed that he was trapped in the Caril-
ion police department interrogation room, and could not obtain any type of assistance. Conse-
quently, Fuller decided to give a false confession to the Carilion Police in order to regain his
freedom. Fuller was required to type the confession into a computer.


30. As soon as Fuller finished typing the confession, the Carilion Police allowed Fuller to leave

the interrogation room.


31. Carilion Clinic, Fuller’s employer, advised Fuller that the lit matches and singed paper were

“an employment matter,” and that Fuller was never under arrest. Carilion also advised Fuller
that since he was never under arrest, “no Miranda rights were implicated.”


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32. The Carilion Police at no time issued a warrant to Fuller.



33. That Carilion Police had no probable cause to effectuate an arrest of Fuller; there was no ev-

idence that a fire had been started, no portion of Carilion Clinic had been burned, damaged or
destroyed, and Fuller had made no statement or committed any act prior to arrest which would
lead a reasonable police officer to believe that Fuller had committed any acts which constituted
felony arson under Virginia Code Section 18.2-77, or any other criminal statute involving crimes
against property under Chapter 5 of the Virginia Code.


34. After Fuller was released, he was notified by Carilion that he was not to return to work.


35. On October 27, 2017 Carilion requested Fuller to meet with Carilion to continue their inves-
tigation, but only on the condition that Fuller meet with Carilion alone without counsel present.
Fuller refused to meet Carilion without counsel for fear of being arrested by Carilion Police or
being imprisoned again.


36. As a result of Fuller’s refusal to meet Carilion without counsel present, Carilion terminated
Fuller on November 24, 2017.




                                            COUNT I
    UNREASONABLE SEIZURE OF FULLER’S PERSON BY THE CARILION POLICE


COMES NOW THE Plaintiff and re-alleges and incorporates by reference herein paragraphs 1 -
36 of the “FACT” provisions of the complaint, and further states as follows:


1. Fuller has a constitutional right guaranteed by the 4th Amendment of the Constitution of the
  United States to be free from the unreasonable seizure (false arrest) of his person.


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2. The Carilion Police were prohibited, by virtue of Virginia Code § 9.101-1, from arresting
Fuller at his private residence, which was outside the boundaries of Carilion Clinic property, and
beyond the Carilion Police department’s jurisdiction.


3. That at some point in time after Fuller’s discovery of the matches and paper on September 14,
2017, Chief Lugar, or his delegee, acting in the capacity of Chief of the Carilion Police, autho-
rized, either directly or indirectly, the arrest, interrogation and false imprisonment of Plaintiff
which led to the deprivation of Fuller’s civil rights as set forth herein. Chief Lugar or his dele-
gated representative had final policymaking authority over the actions of Carilion’s police de-
partment.


4. That at some point in time after Fuller’s discovery of the matches and paper at Carilion on
September 14 2017, either independently, or at the direction of his supervising officer, Captain
Donelson made a decision to arrest, interrogate and falsely imprison Fuller in derogation of his
civil rights as set forth herein, and was present for and engaged in such conduct.


5. That at some point after Fuller’s discovery of the matches and paper at Carilion on September
14, 2017, either independently, or at the direction of a supervising officer, Officer Janney made
a decision to arrest, interrogate and falsely imprison Fuller in derogation of Fuller’s civil rights
as set forth herein, and was present for and engaged in such conduct.


6. That the conduct of Lugar, Donelson and Janney, independently and/or collectively, consti-
tuted an omission of Carilion Police department policy, in failing to preserve Fuller’s civil
rights and resulting in a manifest indifference to them. Alternatively, the issue of any directive,
order or authorization to carry out the false arrest, interrogation and imprisonment of Fuller con-
stituted a policy decision made by the Carilion Police to deny Fuller’s civil rights as alleged
herein.




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7. That the conduct engaged in by the Carilion Police and the individuals Lugar, Donelson and
Janney, constituted a violation of the Carilion’s statutorily-imposed policy requiring compliance
with the Constitution of the United States and the Virginia Constitution, as mandated by the
General Assembly as a prerequisite to maintaining a private police department pursuant to Vir-
ginia Code § 9.1-101.


8. The Carilion police, having plenary law enforcement authority as granted by Virginia Code
Sec. 9.1-101, acted under color of state law and with the full power of a public law enforcement
officer by performing a “surround and call out” procedure, commanding Fuller to go to the po-
lice station, threatening Fuller with felony arson charges, acting with an open and obvious dis-
play of police authority, repeatedly gesturing toward their weapons, blocking entrances and exits
and positioning a police vehicle so that no one could exit or enter Fuller’s driveway and forcibly
entering Fuller’s home without permission.


9. Although without a warrant and outside their jurisdiction to effectuate an arrest, Carilion Po-

lice arrested Fuller, acting in such a manner so as to compel Fuller’s compliance, threatening
Fuller with criminal prosecution and demanding that Fuller change clothes and leave to go with
Carilion police to the “police station.”


10. Carilion Police unreasonably seized Fuller’s person by detaining Fuller and compelling
Fuller to be transported, involuntarily, to the Carilion Clinic police station.


11. That Carilion Police further falsely imprisoned Fuller by requiring that Fuller submit to an

interrogation procedure before he could leave police custody. Fuller’s false arrest and detention
continued when Carilion police refused to allow Fuller to leave the interrogation room despite
his request to do so and denied Fuller the opportunity to seek assistance from his father or from
legal counsel.




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12. The conduct of the Carilion Police was intentional and committed without probable cause to

believe that a crime was committed or was being committed. Despite accusing Fuller of commit-
ting felony arson, Carilion police had no evidence that would lead a reasonable police officer to
believe that Fuller had committed or intended to commit any illegal acts under Virginia Code §
18.2-77 (arson) or any other criminal state or federal statute. No warrant was obtained prior to
Fuller’s arrest at his home, during the interrogation process, or even after Fuller gave his forced
confession.


13. That as a result of the acts committed by the Carilion Police as described herein, Fuller has
been injured. Carillon knew that Fuller suffers from Asperger’s syndrome, and Carilion police
officers knowingly and intentionally engaged in arrest and interrogation tactics that are recog-
nized and intended to cause the target of those tactics to experience fear, apprehension, anxiety,
humiliation, distress and mental anguish. Consequently, Fuller has suffered post-traumatic stress
disorder, the effects of which have been exacerbated by his Asperger’s syndrome, in addition to
the suffering the general psychological effects of humiliation, anxiety, emotional distress, sleep-
lessness and fear.


14. Because Carilion’s police knew that Fuller suffered from a disability and despite knowing

that the police arrest and interrogation tactics would accomplish the psychological damage in-
flicted upon Fuller, Carilion chose to engage in such a course of action with willful and reckless
disregard of their effects on Fuller given Fuller’s disability, and without regard for his civil
rights. Consequently, punitive damages are warranted to deter Carilion and others from like
conduct in the future.


WHEREFORE, Fuller demands judgment against the Defendant Carilion for its cause of action
in an amount sufficient to compensate Plaintiff for the injuries sustained and identified herein as
well as pre- and post-judgment interest, court costs, attorneys fees, and any other damages as this
Court may find to be just and appropriate, and as provided by law.




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                                            COUNT II
       UNREASONABLE SEIZURE OF FULLER’S PERSON BY CARILION CLINIC
COMES NOW THE Plaintiff and re-alleges and incorporates by reference herein paragraphs
1-36 of the “FACT” provisions of the complaint, and further states as follows:


1.Fuller has a constitutional right guaranteed by the 4th Amendment of the Constitution of the
United States to be free from the unreasonable seizure (false arrest) of his person.


2. That on September 14, 2017, when Fuller discovered the burnt matches and the paper, Caril-
ion had actual knowledge that no fire had been started on the hospital property. A receptionist
told Fuller she smelled “something weird” and Fuller called the Carilion in-house emergency
number and requested assistance from the fire department. Carilion dispatched the police de-
partment and did not contact the Roanoke City Fire Department.


3. That Carilion police were aware that no fire existed on Carilion property at the time of the ini-
tial investigation on September 14, 2017. Carilion police officers conducting the initial investi-
gation on September 14, 2017 advised Fuller to throw away the matches and paper. A short time
later, a second investigating officer instructed Fuller to retrieve the matches and paper from a
garbage can. At no time did any Carilion employee or police officer observe a fire, any attempt
by Fuller to start a fire, nor was there any evidence or report of fire damage to any portion of the
Carilion property.


4. Given the complete lack of any evidence of arson or other type of property damage, Carilion
considered the actions of Fuller to be workplace misconduct, and instructed its police officers to
conduct their investigation from “an employment perspective.”


5. At no time did Carilion police place Fuller under arrest, nor did Carilion have the authority to
direct its police to make a warrantless arrest of Fuller under Virginia Code § 19.2-81.




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6. In the course of investigating workplace misconduct, Carilion management and/or law en-
forcement personnel made a policy decision directing the Carilion police force to arrest, interro-
gate and falsely imprison Fuller.


7. That in the course of investigating an incident of potential employee misconduct, a purely civ-

il matter, Carilion was acting in accordance with a policy of exercising it’s plenary police power
as a private police department to investigate potential workplace misconduct. Such policy is in
derogation of Fuller’s civil rights and prohibited pursuant to Virginia Code § 15.2-1704.


8. That Carilion Police Chief Lugar, or his delegated representative, had final policymaking

authority over the actions of Carilion’s police department, and Chief Lugar’s decision to order
Carilion Police to falsely arrest, interrogate and imprison Fuller constituted a policy decision in
deprivation of Fuller’s civil rights.


9. That the actions of Carilion as described herein and by reference in the incorporated para-

graphs above, were intentional and committed without any probable cause to believe that a crime
was committed. Carilion acknowledged that its investigation was limited to an investigation
from an “employment perspective”, rendering the circumstances a civil matter. Because Caril-
ion was investigating a civil matter, Carilion police did not have any authority to engage in any
law enforcement activities and in arresting, interrogating and falsely imprisoning Fuller, and
thereby violated Fuller’s constitutional rights.


10. Carilion’s conduct was the proximate cause of Fuller’s injuries. Carillon personnel knew and

were aware that Fuller suffers from Asperger’s syndrome, and Carilion knowingly and inten-
tionally engaged in arrest and interrogation tactics that are recognized within the law enforce-
ment community to cause the target of such tactics fear, apprehension, anxiety, humiliation, dis-
tress and mental anguish. Consequently, Fuller has been diagnosed with and suffers from post-
traumatic stress disorder as a result of Carilion’s actions. The effects of Fuller’s post traumatic




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syndrome have been exacerbated by his Asperger’s syndrome. Fuller has suffered psychological-
ly, and still suffers the effects of humiliation, terror, anxiety, emotional distress, and fear.


11. Because Carilion knew that Fuller suffered from a disability and despite knowing that its ar-
rest and interrogation tactics would accomplish the psychological damage inflicted upon Fuller,
Carilion chose to engage in such a course of action with willful and reckless disregard of its ef-
fects on Fuller in light of Fuller’s disability, and with a complete and total disregard for his civl
rights. Consequently, punitive damages are warranted to deter Carilion and others from like
conduct in the future.


WHEREFORE, Fuller demands judgment against the Defendant Carilion for its cause of action
in an amount sufficient to compensate Plaintiff for the injuries sustained and identified herein as
well as pre- and post-judgment interest, court costs, attorneys fees, and any other damages as this
Court may find to be just and appropriate, and as provided by law.


                                             COUNT III
                                     FALSE IMPRISONMENT


COMES NOW THE Plaintiff and re-alleges and incorporates by reference herein paragraphs 1 -
36 of the “FACT” provisions of the complaint, and further states as follows:


  1. Carilion Clinic employs, controls and directs the activities of the Carilion police and is au-
     thorized by the Commonwealth of Virginia to maintain a private police department.


  2. The legal authority of the Carilion Clinic’s private police department is limited to the geo-
     graphical boundaries of the property operated by the Carilion Clinic corporate entity.


  3. The Carilion Police has no authority to detain, arrest or interrogate any private citizen in
  any civil matter.


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 4. The Carilion Police did not have the authority to effectuate an arrest at Fuller’s private resi-
 dence.


 5. The Carilion Police did not that the authority to carry out a warrantless arrest pursuant to
 Virginia Code § 19.2-8.


 6. The Carilion Police did not observe, nor were they engaged in, any actions to detect or to
 prevent any crime involving or relating to Fuller while on the property controlled by Carilion
 Clinic on September 14th, 2017 or on September 15th, 2017.


 7. The Carilion Police did not attempt, at any time, to detain Fuller in connection with any
 potential or perceived criminal offense at any time on September 14, 2017 while Fuller was
 performing his job duties on the Carilion Clinic premises.


 8. The Carilion police did not issue, nor did Carilion obtain, a warrant for Fuller’s arrest at
 any time on September 14 or 15, 2017.


 9. That in performing a “surround and call out” maneuver off the Carilion property at Fuller’s
 private residence, the Carilion police acted wholly outside of and without any legal authority
 whatsoever as provided by Virginia Code Section 9.1-101.


 10. That the words and actions of the Carilion Police at Fuller’s private residence as alleged
 herein on September 15, 2017 were such that Fuller was afraid to ignore the police demand to
 enter the custody of the Carilion police, and Fuller justifiably believed that the Carilion Police
 were capable of and intended to falsely imprison Fuller by force.




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 11. That the words and actions of the Carilion Police to Fuller at his residence on September
 15th 2017 were such that Fuller reasonably believed he was required to submit to the Carilion
 Police, and that his refusal to do so would result in bodily harm.


 12. That the Carillon Police falsely imprisoned and detained Fuller by demanding that Fuller
 be taken by the Carilion Police to the police station at Carilion, and Carilion Police accom-
 plished this objective through unlawful force by visibly displaying loaded firearms to Fuller
 and threatening Fuller with an arrest on felony charges.


 13. That the Carilion Police falsely, and without any justification or legal authority to do so,
 unlawfully detained Fuller in a Carilion police security vehicle by transporting Fuller against
 his will to the Carilion police station.


 14. That the Carilion Police, falsely, and without any justification or legal authority of any
 kind, imprisoned Fuller at the Carilion police department for the purpose of interrogation and
 coercing a confession from Fuller. Further, Carilion Police refused to release Fuller from his
 imprisonment, providing Fuller with no means of escape unless and until Fuller provided Car-
 ilion police with a false confession.


 15. That as a result of the acts committed by Carilion, Fuller has been injured. Carillon knew
 and was aware prior to his arrest that Fuller suffers from Asperger’s syndrome, and Carilion
 knowingly and intentionally engaged in arrest and interrogation tactics that are recognized
 and intended to cause the target of those tactics fear, apprehension, anxiety, humiliation, dis-
 tress and mental anguish. Consequently, Fuller has been diagnosed with and suffers from
 post-traumatic stress disorder as a result to Carilion’s actions. The effects of the post traumatic
 syndrome have been exacerbated by his Asperger’s syndrome. Fuller has suffered psychologi-
 cally, and still suffers the effects of humiliation, terror, anxiety, emotional distress, and fear.




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  16. Because Carilion knew that Fuller suffered from a disability and despite knowing that its
  arrest and interrogation tactics would accomplish the psychological damage inflicted upon
  Fuller, Carilion chose to engage in such a course of action with willful and reckless disregard
  of their effects on Fuller in light of Fuller’s disability, and with a complete and total disregard
  for his civil rights. Consequently, punitive damages are warranted to deter Carilion and others
  from like conduct in the future.


WHEREFORE, Fuller demands judgment against the Defendant Carilion for its cause of action
in an amount sufficient to compensate Plaintiff for the injuries sustained and identified herein as
well as pre- and post-judgment interest, court costs, attorneys fees, and any other damages as this
Court may find to be just and appropriate, and as provided by law.




                                             COUNT IV
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


  COMES NOW THE Plaintiff and re-alleges and incorporates by reference herein paragraphs
  1-36 of the “FACT” provisions of the complaint, and further states as follows:


  1. That Carilion Clinic operates and maintains a private police department which is directed
    and controlled by Carilion.


  2. On September 14, 2017 Carilion police/employees investigated Fuller’s discovery of three
  burnt matches and a piece of paper. In the course of the September 14, 2017 investigation,
  Fuller completed his work shift, provided answers to the investigating officers’ questions and
  provided police with the matches and singed paper that he had been previously directed to dis-
  card.




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 3. The September 14, 2017 investigating officers did not interrogate Fuller and did not find
 any evidence of a fire or any damage to Carilion property. No investigating police officer de-
 tained Fuller or prevented him from completing his job duties for the remainder of his work
 shift. No police officer questioned Fuller further about the matches and the singed paper
 Fuller had discovered. Fuller’s shift supervisor gave Fuller no indication that there was any
 type of problem.


 4. By 10:30 a.m. on September 15, 2017, when Carilion police stormed Fuller’s residence,
 nine hours had elapsed since Fuller had completed his shift and left the Carilion premises.
 There were no exigent circumstances which created probable cause for Carilion to believe a
 crime had been committed or was in the process of being committed. Moreover, there was no
 legal mechanism which allowed Carilion to make a warrantless arrest on Fuller’s property.


 5. By the time Carilion police sought to arrest Fuller on September 15, 2017, Carilion knew
 that Fuller’s discovery of the matches and burnt paper was an employment matter and there
 was no criminal activity in progress which necessitated an arrest, false imprisonment and an
 interrogation.


 6. Carilion had, at all times, the ability and authority to suspend and/or terminate Fuller. Caril-
 ion ultimately did both, and was entitled to do so as Fuller was an employee at will.


 7. Rather than simply suspend Fuller or terminate Fuller immediately, Carilion instead chose
 to wrongfully exercise it’s police power to threaten, terrorize and humiliate Fuller through
 swat team tactics, false imprisonment and hostile interrogation techniques as set forth in para-
 graph nos. 1-36 above.


 8. Carilion’s actions against its employee were intended to inflict emotional distress upon
 Fuller. Carillion’s humiliation of Fuller because of his disability, the use of interrogation




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 techniques intended to capitalize upon the symptoms of Fuller’s affliction with Asperger’s
 syndrome were intended to intentionally inflict emotional distress upon Fuller.


 9. As an employer, Carilion’s conduct as described herein was outrageous and intolerable.
 Carilion, as a for profit corporation, is one of only nine private police departments authorized
 by statute within the entire commonwealth of Virginia. Carilion utilized it’s position of power
 as a private police department to deny its own employee of his civil rights. Further, Carilion
 utilized its position of power and privileged law enforcement status to terrorize Fuller, who
 was known to Carilion to be disabled, under the guise of a criminal police investigation. Car-
 ilion’s police department has no accountability to any authority other than the legal system,
 and the abuse of its power to threaten employees and falsely imprison them offends the gener-
 ally accepted standards of decency and morality of the community at large.


 10. Carilion’s blatant abuse of its power is equally shocking to the conscience given that Car-
 ilion is a for profit corporation and does not answer to any democratically elected authority.
 Carilion violated Virginia Codes Section 9.1-101 by engaging in law enforcement activities
 outside it’s statutory jurisdiction. Carillon then conducted an illegal, warrantless arrest in vio-
 lation of Virginia Code Section 19.2-81. The violation of both statutes then allowed Carilion
 to falsely imprison its own employee, conduct an enhanced interrogation, and, ultimately, ex-
 tract from Fuller, disabled, shaking, crying and fearful, a coerced confession. Fuller’s only
 remedy is the legal system. There is no city council, elected official or county board to hold a
 private police department accountable for its misdeeds. The abuse of such power, particularly
 when directed to an employee over whom Carilion already had control, offends all sense of
 decency.


 11. Fuller’s injuries have been proximately caused by Carilion. As a result of the acts commit-
 ted by Carilion, Fuller has suffered severe emotional distress. Carillon personnel knew and
 were aware that Fuller suffers from Asperger’s syndrome, and Carilion knowingly and inten-
 tionally engaged in arrest and interrogation tactics that are recognized and intended to cause


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 the target of those tactics fear, apprehension, anxiety, humiliation, distress and mental an-
 guish. Consequently, Fuller has been diagnosed with and suffers from post-traumatic stress
 disorder proximately caused by Carilion. The effects of the post traumatic stress disorder are
 exacerbated by Fuller’s Asperger’s syndrome. Fuller has suffered psychologically, and still
 suffers the effects of humiliation, terror, severe anxiety, emotional distress, sleeplessness and
 fear.


 12. Because Carilion knew that Fuller suffered from a disability and despite knowing that its
 arrest and interrogation tactics would accomplish the psychological damage inflicted upon
 Fuller, Carilion chose to engage in such a course of action with willful and reckless disregard
 of the effects of Carilion’s actions upon Fuller in light of Fuller’s disability, and with a com-
 plete and total disregard for Fuller’s civl rights. Consequently, punitive damages are war-
 ranted to deter Carilion and others from like conduct in the future.


 WHEREFORE, Fuller demands judgment against the Defendant Carilion for its cause of ac-
 tion in an amount sufficient to compensate Plaintiff for the injuries sustained and identified
 herein as well as pre- and post-judgment interest, court costs, attorneys fees, and any other
 damages as this Court may find to be just and appropriate, and as provided by law.


               A JURY TRIAL IS HEREBY DEMANDED ON ALL COUNTS


                                                            ROGER S. FULLER, JR.


                                                            s/________________________
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                                   CERTIFICATE OF SERVICE


I certify that the foregoing document was filed on the 15th day of February, 2018 with the Clerk
of the Court via the CM/ECF filing system, which will send notification of such filing to the
counsel of record below:


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